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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                 JUDGE R. BROOKE JACKSON


  Civil Action:           15-cv-00992-RBJ                   Date: August 28, 2018
  Courtroom Deputy:       Julie Dynes                       Court Reporter: Sarah Mitchell

                Parties                                                 Counsel

  AHMAD AJAJ                                                       Nicole B. Godfrey
                                                                   Laura L. Rovner
                          Plaintiff

  v.

  FEDERAL BUREAU OF PRISONS                                        Lauren M. Dickey
                                                                    Marcy E. Cook
                                                                   Kevin T. Traskos
                          Defendant


                                      COURTROOM MINUTES


  BENCH TRIAL DAY TWO

  Court in Session: 9:04 a.m.

  Student attorneys Michael Bishop, Rachel Kennedy and Elizabeth Othmer present on behalf of
  the plaintiff.

  Plaintiff, Ahmad Ajaj, recalled and remains under oath.

  9:06 a.m.     Continued direct examination of Mr. Ajaj by Ms. Kennedy.
                Exhibit 79 is admitted.

  9:29 a.m.     Cross examination of Mr. Ajaj by Ms. Dickey.
                Exhibits D-13 and D-15 (page 1) are admitted.

  9:46 a.m.     Redirect examination of Mr. Ajaj by Ms. Kennedy.

  9:51 a.m.     Court in recess.
  10:12 a.m.    Court in session.
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  Plaintiff’s witness, Mohamed Shnewer, called and sworn.

  10:12 a.m.         Direct examination of Mr. Shnewer by Ms. Othmer.

  10:23 a.m.         Examination of Mr. Shnewer by the Court.

  10:25 a.m.         Additional examination of Mr. Shnewer by Ms. Othmer.

  Plaintiff’s witness, Emmitt Sparkman, by Ms. Othmer.

  10:27 a.m.         Direct examination of Mr. Sparkman by Ms. Othmer.

  Plaintiff rests.

  Argument given on judgment as a matter of law.

  ORDERED: Motion is TAKEN UNDER ADVISEMENT.

  Defense witness, Chaplain Jonathon Sutter, called and sworn.

  11:13 a.m.         Direct examination of Chaplain Sutter by Mr. Traskos.

  11:37 a.m.         Cross examination of Chaplain Sutter by Ms. Othmer.

  11:48 a.m.         Redirect examination of Chaplain Sutter by Mr. Traskos.

  11:49 a.m.         Examination of Chaplain Sutter by the Court.

  11:53 a.m.         Additional examination of Chaplain Sutter by Ms. Othmer.

  11:55 a.m.         Court in recess.
  1:02 p.m.          Court in session.

  Defense witness, Jeffrey Cheeks, called and sworn.

  1:03 p.m.          Direct examination of Mr. Cheeks by Ms. Cook.

  1:19 p.m.          Cross examination of Mr. Cheeks by Mr. Bishop.
                     Exhiibit 107 (p. BOP_00019261) is admitted.

  1:24 p.m.          Examination of Mr. Cheeks by the Court.

  Defense witness, David Floyd, called and sworn.
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  1:27 p.m.        Direct examination of Mr. Floyd by Ms. Dickey.
                   Exhibits A-16, A-17, C-5 and C-18 are admitted.

  1:41 p.m.        Cross examination of Mr. Floyd by Mr. Bishop.
                   Exhibit 39 is admitted.

  1:49 p.m.        Redirect examination of Mr. Floyd by Ms. Dickey.

  Defense witness, Imam Ammar Amonette, called and sworn.

  1:52 p.m.        Direct examination of Imam Amonette by Ms. Dickey.

  2:25 p.m.        Cross examination of Imam Amonette by Mr. Bishop.

  2:28 p.m.        Redirect examination of Imam Amonette by Ms. Dickey.

  2:30 p.m.        Direct examination of Imam Amonette by the Court.

  2:31 p.m.        Additional examination of Imam Amonette by Mr. Bishop.

  2:32 p.m.        Court in recess.
  2:47 p.m.        Court in session.

  Plaintiff voluntarily dismisses the equal protection claim.

  Defense witness, John Oliver, called and sworn.

  2:48 p.m.        Direct examination of Mr. Oliver by Ms. Dickey.

  3:05 p.m.        Cross examination of Mr. Oliver by Ms. Othmer.

  Defense rests.

  ORDERED: Plaintiff’s motion under Rule 52 for judgment is DENIED.

  Closing argument by Ms. Kennedy.

  3:40 p.m.        Court in recess.
  3:52 p.m.        Court in session.

  Closing argument by Mr. Traskos.

  Rebuttal closing argument by Ms. Kennedy.
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  ORDERED: Case stands submitted, written order to issue.

  Court in Recess: 4:51 p.m.            Trial concluded.              Total time in Court: 05:52

  Clerk’s note: Exhibits returned to counsel or a representative of counsel. Counsel to retain
                exhibits until such time as all need for the exhibits has terminated and the time to
                appeal has expired or all appellate proceedings have been terminated plus sixty
                days.
